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                                                                              USDSSDNY
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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The Application of Barthelemy Samuel Jean Dessaint                    ORDER TO SHOW CAUSE
for an Order Pursuant to 28 U.S.C. § 1782                             GRANTING APPLICATION FOR
Compelling the Production of                                          AN ORDER PURSUANT TO 28
Documents and Testimony by                                            U.S.C. § 1782
Christie's, Inc.
                                                                  x
         Upon the annexed declaration of Guillaume Buge, sworn to on March 18, 2013, the

exhibits attached thereto, and the memorandum oflaw in support of this Application pursuant to

28 U.S.C. § 1782, it is hereby

         ORDERED that Christie's, Inc. ("Christie's"), Karen Gray, Esq., counsel for Christie's,

and Brooke Lampley, Senior Vice-President and Head of the New York Impressionist and

Modern Department of Christie's, show cause before this Court, in Courtroom ~fthe
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United States Courthouse, 500 Pearl Street, New York, New York, on the ¥fI day of March,

2013, at !J:~O -f..m., or as soon thereafter as counsel may be heard, why the proposed order

attached herewith should not be entered pursuant to 28 U.S.C. § 1782; and

         IT IS FURTHER ORDERED that it shall be deemed good and sufficient service if copies

of this Order to Show Cause Granting Judgment Pursuant to 28 U.S.C. § 1782 and all supporting

papers are made by personal delivery upon Christie's, Karen Gray, and Brooke Lampley, at 20

Rockefeller Plaza, New York, New York 10020 on or before the 26 th day of March, 2013.

Dated: New York, New York
       March 1l, 2013


                                                                 (~yn.                       ~
                                                                      U.S.D.J.

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